                IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF VIRGINIA
                       BIG STONE GAP DIVISION

 LEAH N. JESSEE, ET AL.,                        )
                                                )
                  Plaintiffs,                   )     Case No. 2:18CV00043
                                                )
 v.                                             )     OPINION AND ORDER
                                                )
 NATIONWIDE GENERAL                             )     By: James P. Jones
 INSURANCE COMPANY,                             )     United States District Judge
                                                )
                  Defendant.                    )

      Anthony E. Collins, Wise, Virginia, for Plaintiffs; Scott C. Hartin, McKenry
 Dancigers Dawson, P.C., Virginia Beach, Virginia, for Defendant.

       This civil case involving automobile insurance coverage was originally filed

 in state court. The Complaint demanded $100,000 in damages. The defendant

 removed the case based on diversity of citizenship. The plaintiffs have moved to

 amend the Complaint to reduce the amount of damages sought to $55,000 and have

 moved to remand the case to state court on the ground that following the proposed

 amendment, the amount in controversy requirement for diversity jurisdiction is no

 longer satisfied. See 28 U.S.C. § 1332(a).

       A civil action brought in a state court “of which the district courts of the

 United States have original jurisdiction” may be removed to this court. 28 U.S.C.

 § 1441(a). Federal district courts have “original jurisdiction of all civil actions

 where the matter in controversy exceeds the sum or value of $75,000, exclusive of



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 interests and costs, and is between . . . citizens of different States.” 28 U.S.C.

 1332(a). “In most cases, the ‘sum claimed by the plaintiff controls’ the amount in

 controversy determination.” JTH Tax, Inc. v. Frashier, 624 F.3d 635, 638 (4th Cir.

 2010) (quoting St. Paul Mercury Indem. Co. v. Red Cab Co., 303 U.S. 283, 288

 (1938)).   However, “[o]nce jurisdiction exists, subsequent events . . . do not

 destroy the jurisdictional basis.” Griffin v. Red Run Lodge, Inc., 610 F.2d 1198,

 1204 (4th Cir. 1979); see also Rockwell Int’l Corp. v. United States, 549 U.S. 457,

 474 n.6 (2007) (noting that “when a defendant removes a case to federal court

 based on the presence of a federal claim, an amendment eliminating the original

 basis for federal jurisdiction generally does not defeat jurisdiction”).

       In this case, the amount in controversy requirement was satisfied at the time

 the Complaint was filed and at the time of removal. The proposed uncontested

 amendment reducing the ad damnum amount from $75,000 to $55,000 does not

 divest this court of jurisdiction. While the defendant does not object to remanding

 the case, such consent is not conclusive and “I cannot remand a case simply

 because the parties have come to an understanding after removal.” Blake v. ACE

 Am. Ins. Co., No. 2:07-CV-00620, 2008 WL 687449, at *3 (S.D.W. Va. Mar. 11,

 2008); see Hatcher v. Lowe’s Home Ctrs., Inc. 718 F. Supp. 2d 684, 688 (E.D. Va.

 2010) (“If parties were able to defeat jurisdiction by way of post-removal




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 reductions of the amount in controversy, they could unfairly manipulate judicial

 proceedings.”).

       For the foregoing reason, it is ORDERED that the Motion to Amend, ECF

 No. 7, is GRANTED and the Motion to Remand, ECF No. 8, is DENIED. 1

                                              ENTER: January 14, 2019

                                              /s/ James P. Jones
                                              United States District Judge




       1
        Under federal procedure, the amount of damages sought in the complaint does
 not necessarily preclude a greater amount of money recovery. See Stineman v.
 Fontbonne College, 664 F.2d 1082, 1088 (8th Cir. 1981).
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